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     Cleveland Vickers
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10
11   CLEVELAND VICKERS,                              )     Case No. 3:16-cv-00256-SK
                                                     )
12                  Plaintiff,                       )     PLAINTIFF CLEVELAND VICKERS’
                                                     )
13          vs.                                      )     REQUEST TO APPEAR BY
                                                     )     TELEPHONE AT CASE MANAGEMENT
14   J. C. PENNEY CORPORATION, INC. dba              )     CONFERENCE; [PROPOSED] ORDER
     JCPENNEY HILLTOP MALL, et al.,                  )
15                                                   )     Date: November 2, 2016
                                                     )
16                  Defendants.                      )     Time: 1:30 p.m.
                                                     )     Courtroom: A, 15th Floor
17                                                   )     Magistrate Judge Sallie Kim
                                                     )
18                                                   )
                                                     )
19
20          WHEREAS, a Case Management Conference in this matter is set for November 2, 2016
21   at 1:30 p.m. before Magistrate Judge Sallie Kim;
22          WHEREAS, Plaintiff Cleveland Vickers’ (“Plaintiff”) counsel, Tanya E. Moore, would
23   like to avoid the expenditure of fees and costs incident to in-person attendance at the Case
24   Management Conference. In particular, counsel for Plaintiff is located in San Jose, California,
25   and would incur fees and costs to travel to the Court to attend in-person. Plaintiff’s counsel is
26   able and willing to appear telephonically;
27          WHEREAS, Plaintiff’s counsel will make arrangements to appear by CourtCall for the
28   Case Management Conference;

               PLAINTIFF CLEVELAND VICKERS’ REQUEST TO APPEAR BY TELEPHONE AT
                       CASE MANAGEMENT CONFERENCE; [PROPOSED] ORDER

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 1            NOW, THEREFORE, request is hereby made that Plaintiff’s counsel be permitted to
 2   appear telephonically by CourtCall at the Case Management Conference.
 3
 4   Respectfully submitted,
 5
 6   Dated: October 12, 2016                     MOORE LAW FIRM, P.C.
 7
                                                 /s/ Tanya E. Moore
 8                                               Tanya E. Moore
                                                 Attorney for Plaintiff
 9
                                                 Cleveland Vickers
10
11                                              ORDER

12
              Request having been made by Plaintiff to appear telephonically at the Case Management
13
     Conference and good cause appearing;
14
              IT IS HEREBY ORDERED that counsel for Plaintiff, Tanya E. Moore, shall appear
15
     telephonically at the Case Management Conference. Plaintiff’s counsel shall make
16
     arrangements to appear telephonically by CourtCall.
17
18
     Dated:
19                                                         United States Magistrate Judge
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                PLAINTIFF CLEVELAND VICKERS’ REQUEST TO APPEAR BY TELEPHONE AT
                        CASE MANAGEMENT CONFERENCE; [PROPOSED] ORDER

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